         Case 3:24-mc-80326-LB            Document 1-2       Filed 12/30/24      Page 1 of 2




 1   Duy Thai, SBN 157345
     DThai@gammalaw.com
 2   Marco Martemucci, SBN 287397
     MMartemucci@gammalaw.com
 3   Gamma Law, P.C.
     One Sansome Street, Suite 3500
 4   San Francisco, California 94104
     Tel.: 415.901.0510
 5   Fax: 415.901.0512
 6   Attorneys for Plaintiff
     Starto Entertainment, Inc.
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
                                        SAN FRANCISCO DIVISION
10

11
                                                          Case No.:
12    In Re 17 U.S.C. § 512(h) Subpoena to
      X CORP.                                             DECLARATION OF HIROYUKI
13                                                        NAKAJIMA IN SUPPORT OF SUBPOENA
                                                          TO OBTAIN THE IDENTITY OF AN X
14                                                        CORP. CUSTOMER PURSUANT TO 17
                                                          U.S.C. § 512(h)
15

16

17   I, Hiroyuki Nakajima, declare as follows:
18          1.      I am an attorney with the law firm Tokyo Flex Law Office, copyright counsel for
19   Starto Entertainment, Inc. (“Starto”). I make this declaration in support of Starto’s request for the
20   clerk of the District Court for the Northern District of California to issue the subpoena filed
21   concurrently herewith pursuant to the Digital Millennium Copyright Act (DMCA), 17 U.S.C. §
22   512(h). I have personal knowledge of the facts stated in this Declaration and if called to do so,
23   would testify competently thereto.
24          2.      I am duly authorized by Starto to make this request on Starto’s behalf.
25          3.      Starto is an entertainment company headquartered in Japan. Among other things, the
26   company specializes in managing music artists and their live performances.
27

28


                                   DECLARATION OF HIROYUKI NAKAJIMA - 1
          Case 3:24-mc-80326-LB           Document 1-2        Filed 12/30/24    Page 2 of 2




 1          4.      Starto recently discovered that some of the materials relating to its events and music,
 2   to which Starto owns the copyrights (i.e. artwork/media associated with concerts or events), have
 3   been in whole or in part copied, published, displayed, and/or distributed without its authorization by
 4   anonymous internet users using the social media platform “X” platform (formerly known as Twitter)
 5   owned and operated by X Corp. URLs containing the infringing content are identified in the DMCA
 6   notice Starto sent to X Corp. on June 25, 2024, a true and correct copy of which is attached hereto as
 7   Schedule 1 (the “DMCA Notice”).
 8          5.      Upon information and belief, X Corp. provides content delivery services enabling the
 9   unauthorized reproduction and distribution of Starto’s copyrighted works using the URLs
10   (associated with specific user accounts) identified in the DMCA Notice.
11          6.      On information and belief, X Corp.’s policies require a subpoena or court order to
12   compel the company to disclose information about an X user or account used in furtherance of the
13   infringement of another’s copyrights
14          7.      The sole purpose for which the requested subpoena is sought is to obtain the
15   identities of the alleged infringer(s) described in the DMCA Notice and such information will only
16   be used for the purpose of protecting Starto’s copyright rights.
17

18          I declare under penalty of perjury under the laws of the United States of America and the
19   State of California that the foregoing is true and correct.
20

21          Executed on December 24, 2024 in Tokyo, Japan.
22

23                                                          By: ___________________________
24                                                                 Hiroyuki Nakajima
25

26

27

28


                                   DECLARATION OF HIROYUKI NAKAJIMA - 2
